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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


   NAVIENT SOLUTIONS, LLC

                          Plaintiff,

          v.                                       CIVIL ACTION No. 1:19-cv-00461

   THE LAW OFFICES OF JEFFREY
   LOHMAN, P.C., et al.,

                          Defendants.


                          DECLARATION OF GEORGE R. CALHOUN

         1.      I am member of Ifrah PLLC and attorney of record for Plaintiff Navient Solutions,

  LLC, (“NSL”) in the above-captioned matter. I have personal knowledge of the matters contained

  in this Declaration. If called, I could and would testify competently to the matters set forth herein.

         2.      I submit this declaration in support of NSL’s motion for partial summary judgment.

         3.      Documents attached as Exhibits 1 and 2 were produced by NSL in the underlying

  litigation and NSL’s witnsses could authenticate those documents if called at trial.

         4.      The remaining exhibits are: (i) documents produced by one or more of the

  Defendants and which I reviewed personally and which were reviewed by one or more Defendant

  at deposition and can be authenticated by them if called as a witness at trial, (ii) affidavits signed

  under oaths by witnesses prepared to testify at trial; (iii) deposition excerpts concerning matters as

  to which the deponent can and will testify at trial if called as a witness, or (iv) judicial records as

  to which the Court may take judicial notice.

         5.      I personally attended all of the depositions of parties in this case as to which a

  transcript excerpt is attached. Transcript excerpts from the underlying TCPA cases were produced
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  from NSL’s ordinary course business records.

          6.    Attached as Exhibit 1 is a true and correct copy of NSL’s servicing agreement with

  Jamestown Funding Trust, which is Bates numbered NSL028206-41.                 This agreement is

  representative of NSL’s servicing agreements.

          7.    Attached as Exhibit 2 is a true and correct copy of NSL’s trust agreement with

  Jamestown Funding Trust, which is Bates numbered NSL028242-50. This agreement is

  representative of NSL’s trust agreements.

          8.    Attached as Exhibit 3 is a true and correct copy of GST Factoring, Inc.’s Certificate

  of Incorporation, which is Bates numbered GST-002.

          9.    Attached as Exhibit 4 is a true and correct copy of a transcript excerpt for the

  deposition of Rick Graff, taken May 11, 2020.

          10.   Attached as Exhibit 5 is a true and correct copy of an email dated March 24, 2016,

  from Scott Freda to Gregory Trimarche and CCing numerous individuals, which is Bates

  numbered GST007640.

          11.   Attached as Exhibit 6 is a true and correct copy of an email dated May 6, 2015,

  from Gregory Trimarche to Rick Graff and CCing Mike Miles and Amanda Johanson, which is

  Bates numbered GST-1173.

          12.   Attached as Exhibit 7 is a true and correct copy of a transcript excerpt for the

  deposition of Gregory Trimarche, taken May 4, 2020.

          13.   Attached as Exhibit 8 is a true and correct copy of an email dated May 5, 2015,

  from Gregory Trimarche to Mike Miles and CCing Rick Graff, which is Bates numbered GST-

  1163.

          14.   Attached as Exhibit 9 is a true and correct copy of an email dated July 28, 2015,



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  from Gregory Trimarche to Amanda Johanson and Mike Miles and CCing Rick Graff, which is

  Bates numbered GST-1278-GST-1279.

        15.    Attached as Exhibit 10 is a true and correct copy of an email dated April 29, 2015,

  from Mike Miles to Rick Graff, which is Bates numbered GST-1582.

        16.    Attached as Exhibit 11 is a true and correct copy of an email dated May 1, 2015,

  from Mike Miles to Gegory Trimarche, Amanda Johanson, and Rick Graff, which is Bates

  numbered GST000465.

        17.    Attached as Exhibit 12 is a true and correct copy of a document titled “Private

  Student Loan Script,” which is Bates numbered GST000495–96.

        18.    Attached as Exhibit 13 is a true and correct copy of an email dated April 3, 2017,

  from Laci Norman to Anthony Sebreros and CCing Rick Graff and Scott Freda, which is Bates

  numbered GST000616.

        19.    Attached as Exhibit 14 is a true and correct copy of a document titled “Private

  Student Loan Script,” which is Bates numbered GST000067.

        20.    Attached as Exhibit 15 is a true and correct copy of a spreadsheet regarding Student

  Debt Freedom, which is Bates numbered GST-12779-80.

        21.    Attached as Exhibit 16 is a true and correct copy of an email dated August 5, 2015

  from Gregory Trimarche to David Mize and CCing Rick Graff, which is Bates numbered

  GST009232.

        22.    Attached as Exhibit 17 is a true and correct copy of an email dated June 11, 2015

  from Gregory Trimarche to Rick Graff, which is Bates numbered GST007555.

        23.    Attached as Exhibit 18 is a true and correct copy of an email dated April 17, 2015,

  from Gregory Trimarch to Rick Graff and Amanda Johanson, which is Bates numbered



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  GST002200.

         24.    Attached as Exhibit 19 is a true and correct copy of an attorney engagement

  agreement for the Johanson Law Group, which is Bates numbered GST002202.

         25.    Attached as Exhibit 20 is a true and correct copy of an email dated January 21,

  2016, from Gregory Trimache to David Mize and CCing Mike Miles and Rick Graff, which is

  Bates numbered GST007863.

         26.    Attached as Exhibit 21 is a true and correct copy of an email dated October 23,

  2015, from David Mize to Gregory Trimarche and Rick Graff, which is Bates numbered

  GST002934.

         27.    Attached as Exhibit 22 is a true and correct copy of a cease and desist letter

  template for David Mize Law PLLC, which is Bates numbered NSL062078.

         28.    Attached as Exhibit 23 is a true and correct copy of an email dated January 11,

  2016, from David Mize to Gregory Trimarche, which is Bates numbered NSL062079.

         29.    Attached as Exhibit 24 is a true and correct copy of an email dated January 6, 2016,

  from Gregory Trimarche to David Mize and Amanda Johanson and CCing Rick Graff and Mike

  Miles, which is Bates numbered GST010015.

         30.    Attached as Exhibit 25 is a true and correct copy of a declaration and exhibits

  thereto made by David Mize and executed on November 27, 2019.

         31.    Attached as Exhibit 26 is a true and correct copy of a transcript excerpt for the

  deposition of David Mize, taken on December 2, 2019.

         32.    Attached as Exhibit 27 is a true and correct copy of a transcript excerpt for the

  deposition of Jacob Slaughter, taken on August 3, 2020.

         33.    Attached as Exhibit 28 is a true and correct copy of an email dated February 25,



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  2017, from Buddy Sievers to Rick Graff, which is Bates numbered GST002632.

         34.    Attached as Exhibit 29 is a true and correct copy of a report showing payments

  received by GST Factoring, Inc. between the years 2015 and 2019, which is Bates numbered GST-

  03310–11.

         35.    Attached as Exhibit 30 is a true and correct copy of GST Factoring, Inc.’s referral

  agreement with Elsinore Lakes Inc. d/b/a Go2Finance, which is Bates numbered GST008247.

         36.    Attached as Exhibit 31 is a true and correct copy of GST Factoring, Inc.’s referral

  agreements with DocuPrep Center, which are Bates numbered as GST000120 and GST002179.

         37.    Attached as Exhibit 32 is a true and correct copy of GST Factoring, Inc.’s affiliate

  agreement with Student Loans of America, LLC, which is Bates numbered GST000323.

         38.    Attached as Exhibit 33 is a true and correct copy of GST Factoring, Inc.’s affiliate

  agreement with Elsinore Lakes, Inc., which is Bates numbered GST000571.

         39.    Attached as Exhibit 34 is a true and correct copy of GST Factoring, Inc.’s affiliate

  agreement with CMS, which is Bates numbered GST002351.

         40.    Attached as Exhibit 35 is a true and correct copy of an email dated April 18, 2018,

  from Dave Abeling to Jeremy Branch, which is Bates numbered NSL039181–85.

         41.    Attached as Exhibit 36 is a true and correct copy of GST Factoring, Inc.’s factoring

  agreement with David Mize, which is Bates numbered GST002196.

         42.    Attached as Exhibit 37 is a true and correct copy of GST Factoring, Inc.’s factoring

  agreement with Jacob Slaughter, which is Bates numbered GST0010062.

         43.    Attached as Exhibit 38 is a true and correct copy of a report showing payments

  made by GST Factoring, Inc., between the years 2015 and 2019, which is Bates numbered GST-

  03308–39.



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         44.    Attached as Exhibit 39 is a true and correct copy of an email dated March 9, 2017

  from Jacob Slaughter to Rick Graff, which is Bates numbered GST007989.

         45.    Attached as Exhibit 40 is a true and correct copy of an email dated March 9, 2017,

  from Gregory Trimarche to Jacob Slaughter and CCing Rick Graff, which is Bates numbered

  GST008126.

         46.    Attached as Exhibit 41 is a true and correct copy of an email dated February 3,

  2017, from Andrew Muehlbauer to Rick Graff and CCing Gregory Trimarche, which is Bates

  numbered GST007660.

         47.    Attached as Exhibit 42 is a true and correct copy of an email dated April 24, 2015,

  from Mike Miles to Gregory Trimarche and Rick Graff, which is Bates numbered GST000418.

         48.    Attaches as Exhibit 43 is a true and correct copy of an email dated January 26,

  2018, from Rick Graff to Daniel Ruggiero, Zach Block, and Laci Norman and CCing Rick Graff,

  which is Bates numbered GST003543.

         49.    Attached as Exhibit 44 is a true and correct copy of an Affiliate mailer, which is

  Bates numbered GST002557.

         50.    Attached as Exhibit 45 is a true and correct copy of an Affiliate mailer, which is

  Bates numbered LOJL036946.

         51.    Attached as Exhibit 46 is a true and correct copy of an Affiliate mailer, which is

  Bates numbered LOJL046370–71.

         52.    Attached as Exhibit 47 is a true and correct copy of an email dated March 29, 2018,

  from E.A. to Alyson Dykes, which is Bates numbered LOJL022576.

         53.    Attached as Exhibit 48 is a true and correct copy of an Affiliate mailer, which is

  Bates numbered LOJL103520.



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         54.    Attached as Exhibit 49 is a true and correct copy of an email dated August 25,

  2015, from Gregory Trimarche to Rick Graff, which is Bates numbered GST002556.

         55.    Attached as Exhibit 50 is a true and correct copy of an email dated March 21, 2016,

  from Mike Miles to Rick Graff, which is Bates numbered GST000595.

         56.    Attached as Exhibit 51 is a true and correct copy of an email dated December 14,

  2017, from Rick Graff to an Affiliate, which is Bates numbered GST00235.

         57.    Attached as Exhibit 52 is a true and correct copy of an email dated July 27, 2017,

  from Scott Freda to RJ Marshall and CCing Rick Graff and Laci Norman, which is Bates numbered

  RM_000302.

         58.    Attached as Exhibit 53 is a true and correct copy of an email dated February 4,

  2018, from Rick Graff to RJ Marshall, which is Bates numbered RM_000760.

         59.    Attached as Exhibit 54 is a true and correct copy of the Stipulated Final Judgment

  and Order as to Defendant Gregory Trimarche in Bureau of Consumer Financial Protection v.

  GST Factoring, Inc., et al., Case No. 8:20-cv-01239 (C.D. Cal.), which is publicly available at

  https://files.consumerfinance.gov/f/documents/cfpb_trimarche_stipulated-final-judgement-

  order_2020-07.pdf.

         60.    Attached as Exhibit 55 is a true and correct copy of tipulated Final Judgment and

  Order as to Defendant David Mize in Bureau of Consumer Financial Protection v. GST Factoring,

  Inc., et al., Case No. 8:20-cv-01239 (C.D. Cal.), which is publicly available at

  https://files.consumerfinance.gov/f/documents/cfpb_mize_stipulated-final-judgement-

  order_2020-07.pdf.

         61.    Attached as Exhibit 56 is a true and correct copy of GST Factoring, Inc.’s affiliate

  referral agreement with Globus Holding, which is Bates numbered GST000338.



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         62.     Attached as Exhibit 57 is a true and correct copy of GST Factoring, Inc.’s exclusive

  affiliate management agreement with Globus Holding, which is Bates numbered GST002678.

         63.     Attached as Exhibit 58 is a true and correct copy of an email dated June 19, 2015,

  from Andrew Roosen to Mike Miles and CCing Bill Carlson and Rick Graff, which is Bates

  numbered GST008723.

         64.     Attached as Exhibit 59 is a true and correct copy of an email dated November 7,

  2017, from Laci Norman to Rick Graff and Scott Freda, which is Bates numbered GST010130.

         65.     Attached as Exhibit 60 is a true and correct copy of a transcript excerpt for the

  deposition of Bill Carlson, taken June 17, 2010.

         66.     Attached as Exhibit 61 is a true and correct copy of Bill Carlson’s responses to

  NSL’s interrogatories in the above-referenced matter.

         67.     Attached as Exhibit 62 is a true and correct copy of an email dated June 10, 2015,

  from Bill Carlson to Rick Graff and CCing Ralph Demirtshian, which is Bates numbered

  GST007210.

         68.     Attached as Exhibit 63 is a true and correct copy of GST Factoring, Inc.’s affiliate

  agreement with 4th Junction LLC, which is Bates numbered GST007211.

         69.     Attached as Exhibit 64 is a true and correct copy of GST Factoring, Inc.’s affiliate

  agreement with Scisco, LLC, which is Bates numbered GST007212.

         70.     Attached as Exhibit 65 is a true and correct copy of GST Factoring, Inc.’s affiliate

  agreement with Dappa, LLC, which is Bates numbered GST007213.

         71.     Attached as Exhibit 66 is a true and correct copy of GST Factoring, Inc.’s affiliate

  agreement with SPC LLC, which is Bates numbered GST007214.

         72.     Attached as Exhibit 67 is a true and correct copy of a transcript excerpt for the



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  deposition of Manny Kashto, taken June 3, 2020.

         73.    Attached as Exhibit 68 is a true and correct copy of a declaration and the exhibits

  thereto made by David Sklar and executed on July 6, 2020.

         74.    Attached as Exhibit 69 is a true and correct copy of an email dated May 8, 2015,

  from Mike Miles to Rick Graff and Scott Freda, which is Bates numbered GST000340.

         75.    Attached as Exhibit 70 is a true and correct copy of a transcript excerpt for the

  deposition of RJ Marshall, taken June 3, 2020.

         76.    Attached as Exhibit 71 is a true and correct copy of an email dated August 29,

  2018, from Jacob Slaughter to Rick Graff, which is Bates numbered GST 0030000.

         77.    Attached as Exhibit 72 is a true and correct copy of an email dated February 6,

  2018, from Jacob Slaughter to Rick Graff, which is Bates numbered GST010018.

         78.    Attached as Exhibit 73 is a true and correct copy of a transcript excerpt for the

  deposition of A.C., taken on August 18, 2017.

         79.    Attached as Exhibit 74 is a true and correct copy of a transcript excerpt for the

  deposition of S.D., taken on August 11, 2017.

         80.    Attached as Exhibit 75 is a true and correct copy of a transcript excerpt for the

  deposition of A.F., taken on March 3, 2018.

         81.    Attached as Exhibit 76 is a true and correct copy of a transcript excerpt for the

  deposition of D.D., taken on August 28, 2018.

         82.    Attached as Exhibit 77 is a true and correct copy of a transcript excerpt for the

  deposition of B.L., taken on May 9, 2018.

         83.    Attached as Exhibit 78 is a true and correct copy of a document entitled

  “Compliance Call Script,” which is Bates numbered RM_000301.



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         84.    Attached as Exhibit 79 is a true and correct copy of an email dated September 7,

  2016, from Laci Norman to RJ Marshall and Mann Kashto and CCing Andrew Roosen and Scott

  Freda, which is Bates numbered GST002413.

         85.    Attached as Exhibit 80 is a true and correct copy of an email dated June 7, 2016,

  from Mike Miles to RJ Marshall and CCing Manny Kashto and Rick Graff, which is Bates

  numbered GST007547.

         86.    Attached as Exhibit 81 is a true and correct copy of a document entitled “FAQ,”

  which is Bates numbered LOJL102022–33.

         87.    Attached as Exhibit 82 is a true and correct copy of of an email dated February 23,

  2017, from Rick Graff to Bailey Reichelt and CCing Gregory Trimarche and Rick Graff, which is

  Bates numbered GST-1138.

         88.    Attached as Exhibit 83 is a true and correct copy of an email dated January 5, 2018,

  from P.N. to Ibrahim Muhtaseb, which is Bates numbered LOJL085875–77.

         89.    Attached as Exhibit 84 is a true and correct copy of an email dated September 28,

  2016, from J.L. to Joel Knapp, Crystal Bleau, and Brittany Hernandez, which is Bates numbered

  LOJL023072.

         90.    Attached as Exhibit 85 is a true and correct copy of a revocation script, which is

  Bates numbered LOJL122641.

         91.    Attached as Exhibit 86 is a true and correct copy of an email dated February 26,

  2016, from Jeffrey Lohman to David Mize, which is Bates numbered NSL055670.

         92.    Attached as Exhibit 87 is a true and correct copy of an email dated March 15, 2016,

  from David Mize to Jeffrey Lohman, which is Bates numbered LOJL031057.

         93.    Attached as Exhibit 88 is a true and correct copy of an email dated April 4, 2016,



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  from David Mize to Jeffrey Lohman, which is Bates numbered LOJL031062.

         94.    Attached as Exhibit 89 is a true and correct copy of an email dated April 11, 2016,

  from David Mize to himself, which is Bates numbered NSL052113.

         95.    Attached as Exhibit 90 is a true and correct copy of an email dated April 11, 2016,

  from Jeffrey Lohman to David Mize, which is Bates numbered NSL052117.

         96.    Attached as Exhibit 91 is a true and correct copy of an email dated April 11, 2016,

  from Jeffrey Lohman to David Mize , which is Bates numbered NSL052116.

         97.    Attached as Exhibit 92 is a true and correct copy of an email dated April 13, 2016,

  from David Mize to Jeffrey Lohman, which is Bates numbered NSL053898.

         98.    Attached as Exhibit 93 is a true and correct copy of an email dated April 11, 2016,

  from Jeffrey Lohman to David Mize and CCing Dave Abeling, which is Bates numbered

  NSL052115.

         99.    Attached as Exhibit 94 is a true and correct copy of an email dated April 25, 2016,

  from Lohman to David Mize, which is Bates numbered NSL054390.

         100.   Attached as Exhibit 95 is a true and correct copy of a transcript excerpt for the

  deposition of Jeffrey Lohman, taken on June 1, 2020.

         101.   Attached as Exhibit 96 is a true and correct copy of an email dated May 25, 2016,

  from David Mize to Melissa Jordan and Jeffrey Lohman, which is Bates numbered LOJL031309.

         102.   Attached as Exhibit 97 is a true and correct copy of an email dated August 24,

  2016, from Jeffrey Lohman to David Mize and CCing Melissa Jordan, which is Bates numbered

  NSL054346–47.

         103.   Attached as Exhibit 98 is a true and correct copy of The Law Offices of Jeffrey

  Lohman, P.C.’s responses to NSL’s interrogatories in the above-referenced matter.



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         104.   Attached as Exhibit 99 is a true and correct copy of an email dated September 7,

  2016, from Jeffrey Lohman to David Mize, which is Bates numbered LOJL032507.

         105.   Attached as Exhibit 100 is a true and correct copy of a transcript excerpt for the

  deposition of Ibrahim Muhtaseb, taken May 29, 2020.

         106.   Attached as Exhibit 101 is a true and correct copy of an email dated May 12, 2016,

  from Jeffrey Lohman to David Mize and CCing Brittany Hernandez, which is Bates numbered

  LOJL031150.

         107.   Attached as Exhibit 102 is a true and correct copy of an email dated May 12, 2016,

  from Brittany Hernandez to Jeffrey Lohman and David Mize, which is Bates numbered

  LOJL031151.

         108.   Attached as Exhibit 103 is a true and correct copy of an email dated April 25, 2017,

  from Ibrahim Muhtaseb to E.A., which is Bates numbered LOJL122445–47.

         109.   Attached as Exhibit 104 is a true and correct copy of an email dated June 21, 2017,

  from Jeffrey Lohman to David Mize and Jacob Slaughter and CCing Jeremy Branch, Ibrahim

  Muhtaseb, and Kirstie Suarez, which is Bates numbered LOJL034996.

         110.   Attached as Exhibit 105 is a true and correct copy of an email dated February 15,

  2018, from E.A. to Alyson Dykes, which is Bates numbered LOJL111006–08.

         111.   Attached as Exhibit 106 is a true and correct copy of an email dated May 5, 2016,

  from M.M. to Jeffrey Lohman, which is Bates numbered LOJL117500.

         112.   Attached as Exhibit 107 is a true and correct copy of an email dated November 29,

  2017, from Ibrahim Muhtaseb to J.L. and CCing David Mize, which is Bates numbered

  LOJL124023–25.

         113.   Attached as Exhibit 108 is a true and correct copy of an email dated May 16, 2017,

  from Ibrahim Muhtaseb to M.C., which is Bates numbered LOJL122569.

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         114.   Attached as Exhibit 109 is a true and correct copy of an email dated June 7, 2017,

  from Ibrahim Muhtaseb to J.A., which is Bates numbered LOJL122127.

         115.   Attached as Exhibit 110 is a true and correct copy of an email dated June 8, 2017,

  from Ibrahim Muhtaseb to S.S., which is Bates numbered LOJL121351.

         116.   Attached as Exhibit 111 is a true and correct copy of an email dated June 20, 2017,

  from Ibrahim Muhtaseb to S.H., which is Bates numbered LOJL121908.

         117.   Attached as Exhibit 112 is a true and correct copy of a transcript excerpt for the

  deposition of Alyson Dykes, taken June 2, 2020.

         118.   Attached as Exhibit 113 is a true and correct copy of an email dated November 28,

  2017, from Ibrahim Muhtaseb to J.L. and CCing David Mize, which is Bates numbered

  LOJL023123.

         119.   Attached as Exhibit 114 is a true and correct copy of an email dated April 21, 2019,

  from D.I. to Jeremy Branch, which is Bates numbered LOJL104215–16.

         120.   Attached as Exhibit 115 is a true and correct copy of an email dated July 13, 2017,

  from Jeremy Branch to a borrower, which is Bates numbered LOJL103660.

         121.   Attached as Exhibit 116 is a true and correct copy of an email dated February 11,

  2019, from Alyson Dykes to C.B. and CCing Jeremy Branch, which is Bates numbered

  LOJL020827.

         122.   Attached as Exhibit 117 is a true and correct copy of a document entitled “[C.B.]

  v. Navient hearing date February 13, 2019 Direct Exam,” which is Bates numbered LOJL020829–

  33.

         123.   Attaches as Exhibit 118 is a true and correct copy of an email dated February 12,

  2019, from Alyson Dykes to C.B., which is Bates numbered LOJL020835.



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        124.    Attached as Exhibit 119 is a true and correct copy of a document entitled “[D.S.]

  v. Navient hearing date June 8, 2018,” which is Bates numbered LOJL021545–49.

        125.    Attached as Exhibit 120 is a true and correct copy of an email dated June 7, 2018,

  from Alyson Dykes to D.S., which is Bates numbered LOJL021550.

        126.    Attached as Exhibit 121 is a true and correct copy of “[D.S.] v. Navient hearing

  date June 8, 2018,” which is Bates numbered LOJL021551–56.

        127.    Attached as Exhibit 122 is a true and correct copy of an email dated June 7, 2018,

  from Alyson Dykes to D.S., which is Bates numbered LOJL021557.

        128.    Attached as Exhibit 123 is a true and correct copy of a document entitled “[A.S.]

  v. Navient hearing date June 21, 2018,” which is Bates numbered LOJL025334–39.

        129.    Attached as Exhibit 124 is a true and correct copy of an email dated June 20, 2018,

  to Alyson Dykes to A.J., which is Bates numbered LOJL025340.

        130.    Attached as Exhibit 125 is a true and correct copy of the document entitled “[C.B.]

  v Navient hearing date February 13, 2019 Direct Exam,” which is Bates numbered LOJL075841–

  47.

        131.    Attached as Exhibit 126 is a true and correct copy of an email dated February 11,

  2019, Alyson Dykes to Jeffrey Lohman and Jeremy Branch, which is Bates numbered

  LOJL075848.

        132.    Attached as Exhibit 127 is a true and correct copy of a document entitled “[C.B.]

  v Navient hearing date February 13, 2019 Direct Exam,” which is Bates numbered LOJL075914–

  18.

        133.    Attached as Exhibit 128 is a true and correct copy of a document entitled “[B.M.]

  v. Navient Solutions, LLC hearing date November 7, 2017,” which is Bates numbered



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  LOJL103616–19.

         134.   Attached as Exhibit 129 is a true and correct copy of an email dated November 4,

  2017, from Jeremy Branch to B.M., which is Bates numbered LOJL103620.

         135.   Attached as Exhibit 130 is a true and correct copy of a document entitled “[B.M.]

  v. Navient Solutions hearing date September 8, 2017,” which is Bates numbered LOJL104660–

  61.

         136.   Attached as Exhibit 131 is a true and correct copy of an email dated September 8,

  2017, from Jeremy Branch to B.M., which is Bates numbered LOJL104662–66.

         137.   Attached as Exhibit 132 is a true and correct copy of a document entitled “[L.W.]

  v Navient Solutions, LLC hearing date February 8, 2017,” which is Bates numbered LOJL106604–

  10.

         138.   Attached as Exhibit 133 is a true and correct copy of an email dated February 7,

  2018, from Alyson Dykes to L.W. and CCing Jeremy Branch, which is Bates numbered

  LOJL106611.

         139.   Attached as Exhibit 134 is a true and correct copy of a document entitled “[B.M.]

  v Navient Solutions, LLC hearing date November 7, 2017,” which is Bates numbered

  LOJL106744–47.

         140.   Attached as Exhibit 135 is a true and correct copy of an email dated November 6,

  2017, from Jeremy Branch to B.M., which is Bates numbered LOJL106751.

         141.   Attached as Exhibit 136 is a true and correct copy of an email dated November 21,

  2017, from Ibrahim Muhtaseb to M.I., which is Bates numbered LOJL122182.

         142.   Attached as Exhibit 137 is a true and correct copy of a document entitled “[M.I.]

  v. Navient Solutions, LLC hearing date November 20, 2017,” which is Bates numbered



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  LOJL122176–81.

         143.    Attached as Exhibit 138 is a true and correct copy of a transcript excerpt for the

  deposition of D.S., taken in an underlying TCPA matter on October 30, 2017.

         144.    Attached as Exhibit 139 is a true and correct copy of a transcript excerpt for the

  deposition of H.L., taken in an underlying TCPA matter on November 28, 2017.

         145.    Attached as Exhibit 140 is a true and correct copy of a transcript excerpt for the

  deposition of L.L., taken in an underlying TCPA matter on December 8, 2017.

         146.    Attached as Exhibit 141 is a true and correct copy of a transcript excerpt for the

  deposition of J.M., taken in an underlying TCPA matter on July 13, 2017.

         147.    Attached as Exhibit 142 is a true and correct copy of a transcript excerpt for the

  deposition of B.M., taken in an underlying TCPA matter on June 16, 2017.

         148.    Attached as Exhibit 143 is a true and correct copy of NSL’s Revised Damages

  Chart, which identifies which attorney referred each relevant TCPA Case involving NSL, which

  attorney was assigned prosecute each case, and the disposition of each case. The chart accurately

  identifies the sums paid bythat NSL claims it paid for settlements, damages, or as attorneys’ fees.

  As demonstrated by this chart, NSL eventually forgave debt, entered settlements, or paid attorneys’

  fees totaling $4,827,901.79.

         149.    Attached as Exhibit 144 is a true and correct copy of a transcript excerpt for the

  deposition of Troy Standish, taken on June 12, 2020.

         150.    Attached as Exhibit 145 is a true and correct copy of a transcript excerpt for the

  deposition of Wayne Travell, taken on August 3, 2010.

         151.    Attached as Exhibit 146 is a true and correct copy of an email dated May 6, 2016,

  from Jeffrey Lohman to David Mize and CCing Brittany Hernandez, which is Bates numbered



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  LOJL031110.

         152.   Attached as Exhibit 147 is true and correct copy of an email dated September 20,

  2016, from Jeffrey Lohman to David Mize, which is Bates numbered NSL053759.

         153.   Attached as Exhibit 148 is a true and correct copy of an email dated June 17, 2016,

  from David Mize to Brittany Hernandez, which is Bates numbered LOJL084997.

         154.   Attached as Exhibit 149 is a true and correct copy of an email dated January 3,

  2019, from A.M. to Carlos Alsina, which is Bates numbered LOJL103057–62.

         155.   Attached as Exhibit 150 is a true and correct copy of an email dated March 28,

  2018, from E.A. to Alyson Dykes, which is Bates numbered LOJL022541–42.

         156.   Attached as Exhibit 151 is a true and correct copy of an email dated August 19,

  2016, from Brittany Hernandez to M.C., which is Bates numbered LOJL115894.

         157.   Attached as Exhibit 152 is a true and correct copy of an email dated July 5, 2016,

  from Brittany Hernandez to A.C., which is Bates numbered LOJL116476.

         158.   Attached as Exhibit 153 is a true and correct copy of an email dated January 17,

  2018, from Jeffrey Lohman to Daniel Ruggiero and CCing Zach Block, which is Bates numbered

  LOJL016430.

         159.   Attached as Exhibit 154 are true and correct copies of various judicial records from

  In re David Wayne Mize, Jr.,, Bar No. 03049 (Az. State Bar.), which are Bates numbered

  NSL016096–131.

         160.   Attached as Exhibit 155 is a true and correct copy of a document entitled “Private

  Student Loan Script,” which is Bates numbered GST000132.

         161.   Attached as Exhibit 156 is a true and correct copy of a transcript excerpt for the

  deposition of C.S., taken in an underlying TCPA matter on January 4, 2018.



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         162.    Attached as Exhibit 157 is a true and correct copy of a transcript excerpt for the

  deposition of E.A., taken in an underlying TCPA matter on February 26, 2018.

         163.    Attached as Exhibit 158 is a true and correct copy of a transcript excerpt for the

  deposition of K.W., taken in an underyling TCPA matter on February 12, 2018.

         164.    Attached as Exhibit 159 is a true and correct copy of a transcript excerpt for the

  deposition of K.K., taken in an underlying TCPA matter on May 14, 2019.

         165.    Attached as Exhibit 160 is a true and correct copy of a chart showing borrower

  information, which is Bates numbered LOJL031058–61.

         166.    Attached as Exhibit 161 is a true and correct copy of an email dated 2/3/17 from

  David Mize to Jeffrey Lohman and CCing Jeremy Branch and Ibrahim Muhtaseb, which is Bates

  numbered LOJL083708–09.

         167.    Attached as Exhibit 162 is a true and correct copy of an email dated June 10, 2016,

  from Brittany Hernandez to David Mize, which is Bates numbered LOJL031461–63.

         168.    Attached as Exhibit 163 is a true and correct copy of an email dated October 16,

  2017, from Ibrahim Muhtaseb to David Mize and CCing Jeffrey Lohman, which is Bates numbered

  LOJL044857.

         169.    Attached as Exhibit 164 is a true and correct copy of a transcript excerpt for the

  deposition of D.A., taken in an underlying TCPA matter on February 19, 2019.

         170.    Attached as Exhibit 165 is a true and correct copy of a transcript excerpt for the

  deposition of Andrew Reinhart, taken on December 11, 2019.

         171.    This chart summarizes other admissible evidence contained in the documents

  produced by the parties, the Joint Statement of Facts and LOJL’s privilege log.




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      Borrower’s   Date of Consent to       Date of Arbitration    Date of First
        Name         Representation     Demand/Complaint Filing     Email from
                         Email                                       Attorney
    E.A.           9/20/2016          1/20/2017 (arbitration)     7/12/17
    D.A.           9/28/2016          8/21/2017 (arbitration)     12/4/2018
                                      6/5/2018 (complaint)
    J.A.           8/31/2016          3/31/2017 (arbitration)     6/7/2017
    J.B.           9/28/2016          10/31/2016 (arbitration)    3/1/2018
    C.B.           6/2/2016           10/26/2016 (arbitration)    2/6/2018
    K.B.           12/19/2017         7/30/2018 (arbitration)     8/3/2018
    C.B.           5/25/2017          9/25/2017 (arbitration)     2/5/2018
    D.C.           6/7/2016           10/17/2016 (arbitration)    N/A
    A.C.           7/6/2016           1/24/2017 (arbitration)     6/13/2017
    C.C.           1/12/2017          2/15/2017 (arbitration)     8/30/2017
    C.D.           10/10/2017         7/27/18 (complaint)         N/A
                                      7/18/19 (arbitration)
    S.D.           10/21/2016         2/21/2017 (arbitration)     8/8/2017
    A.F.           8/31/2017          9/20/2017 (arbitration)     9/22/2017
    T.F.           7/29/2016          10/23/2016 (arbitration)    N/A
    P.G.           7/27/2016          9/26/2017 (arbitration)     11/30/2017
    B.G.           8/29/2016          1/24/2017 (arbitration)     5/24/2017
    S.H.           10/26/2016         4/28/2017 (complaint)       6/20/2017
    I.H.           12/21/2016         2/14/2017 (arbitration)     N/A
    M.I.           10/17/2016         2/6/2017 (arbitration)      5/17/2017
    E.I.           9/2/2016           1/20/2017 (arbitration)     N/A
    D.I.           10/18/2017         1/23/2019 (arbitration)     4/18/2019
    A.J.           8/30/2017          9/25/2017 (arbitration)     2/26/2018
    C.J.           10/19/2016         4/7/2017 (complaint)        N/A
    S.K.           8/16/2016          1/30/2017 (arbitration)     2/13/2017
                                      3/30/2017 (complaint)
    T.K.           9/29/2016          10/18/2018 (arbitration)    12/14/20
    Y.K.           11/3/2016          1/27/2017 (arbitration)     2/9/2017
                                      4/6/2017 (complaint)
    K.K.           10/18/2017         7/31/2018 (complaint)       8/29/2018
    H.L.           8/2/2016           1/5/2017 (arbitration)      11/9/2017
                                      6/13/2018 (complaint)
    L.L.           8/2/2016           10/26/2016 (arbitration)    11/24/2017
    F.L.           10/31/2016         1/25/2017 (arbitration)     8/9/2017
    B.M.           12/13/2016         1/23/2017 (arbitration)     7/12/2017
    J.M.           10/25/2016         1/20/2017 (arbitration)     5/2/2017
    B.M.           10/5/2016          1/23/2017 (arbitration)     4/6/2017
    J.M.           9/29/2016          9/18/2017 (arbitration)     3/8/2018
    M.M.           4/6/2017           9/25/2017 (arbitration)     4/6/2018
    K.M.           5/25/2016          11/17/2016 (arbitration)    4/10/2017
    T.N.           6/29/2017          9/25/2017 (arbitration)     2/19/2018

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      Borrower’s         Date of Consent to       Date of Arbitration                    Date of First
        Name               Representation     Demand/Complaint Filing                     Email from
                               Email                                                       Attorney
    J.P.                 6/6/2016           10/12/2016 (arbitration)                    10/3/2017
    E.R.                 N/A                1/19/2017 (arbitration)                     5/17/2017
                                            5/17/2017 (demand amended)
    J.R.                 N/A                1/31/2017 (arbitration)                     N/A
    W.R.                 8/16/2016          1/27/2017 (arbitration)                     11/2/2017
    R.S.                 5/26/2016          1/17/2016 (arbitration)                     1/23/2018
                                            5/2/2018 (complaint)
    S.S.                 11/11/2016         1/23/2017 (arbitration)                     5/30/2017
    V.S.                 10/31/2016         1/20/2017 (arbitration)                     8/29/2017
    B.S. & M.S.          6/1/2016           10/31/2016 (arbitration)                    11/15/2017
                                            8/28/2018 (demand amended)
    A.S.                 9/26/2017          1/23/2019 (complaint)                       6/22/2019
                                            8/5/2019 (arbitration)
    D.S.                 9/15/2016          1/5/2017 (arbitration)                      7/7/2017
    J.T.                 10/19/2016         2/15/2017 (arbitration)                     N/A
    C.T.                 5/19/2016          1/26/2017 (arbitration)                     N/A
    L.W.                 5/14/2016          11/17/2016 (arbitration)                    1/19/2018
    L.W.                 8/23/2016          1/3/2017 (arbitration)                      6/30/2017
    K.W.                 3/22/2017          7/1/2017 (arbitration)                      12/27/2017
    K.W.                 9/20/2016          1/23/2017 (arbitration)                     5/10/2017

           I declare under penalty of perjury that the foregoing is true and correct.


  DATED: October 20, 2020                         Respectfully submitted,

                                                  /s/ George R. Calhoun, V
                                                  George R. Calhoun, V (pro hac vice)

                                                  Counsel for Plaintiff Navient Solutions, LLC




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